         Case
          Case3:13-cr-00012-RCJ-WGC
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                                   UNITED STATES DISTRICT COURT
 1                                      DISTRICT OF NEVADA
 2                                              *****
 3    UNITED STATES OF AMERICA,                        Case No. 3:13-cr-00012-RCJ-WGC
 4
                      Plaintiff,                       ORDER STAYING RELEASE OF
 5           vs.                                       DEFENDANT KEISHA COLE PENDING
                                                       TRIAL
 6    KEISHA COLE,

 7                     Defendant.
 8

 9
            Upon consideration of the motion of the government, the Order of the Magistrate Judge
10
     in the District of Arizona releasing the defendant Keisha Cole, under Case No. 2:13-mj-00236-
11
     MHB, is stayed pending further hearing in this Court. The defendant shall remain in custody
12
     pending resolution of this matter.
13
                                                            24th
                                                 Dated this ______day of June, 2013
14

15                                               BY THE COURT:
16

17
                                                _________________________________
18                                              HONORABLE ROBERT C. JONES
                                                _________________________________
                                                Chief Judge, United States District Court
19                                              LARRY R. HICKS
                                                UNITED STATES DISTRICT JUDGE
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